OPINION — AG — ** RESIDENT — SCHOOL DISTRICTS ** QUESTION: MAY THE STATE BOARD OF PUBLIC AFFAIRS, AS GOVERING BOARD OF THE WHITAKER STATE ORPHANS HOME AT PRYOR, OKLAHOMA, SEND THE CHILDREN WHO ARE OF SCHOOL AGE AND WHO ARE RESIDENTS OF SAID INSTITUTION TO ATTEND SCHOOL FREE OF CHARGE IN THE PUBLIC SCHOOL OF THE SCHOOL DISTRICT WHEREIN SAID INSTITUTION IS SITUATED ? — AFFIRMATIVE (LEGAL RESIDENCE, CUSTODY, STATE AGENCY) CITE: 70 O.S. 1-14 [70-1-14], 70 O.S. 1-16 [70-1-16] (JAMES P. GARRETT)